           Case 2:07-cr-00048-JLR         Document 18        Filed 03/02/07      Page 1 of 2




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case No. CR07-048-JLR
10         v.                             )
                                          )
11   DUC CONG DANG,                       )
                                          )             DETENTION ORDER
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Count 1: Conspiracy to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1),

16 841(b)(1)(A), and 846.

17          Counts 2 and 4: Possession of Cocaine Base with Intent to Distribute in violation of 21

18 U.S.C. §§ 841(a)(1) and 841(b)(1)(A), and 18 U.S.C. § 2.

19 Date of Detention Hearing: March 1, 2007.

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     The Assistant United States Attorney has proffered that in the near future a

24 detainer will be placed on defendant by Immigration and Customs Enforcement.

25          (2)     Defendant has not been interviewed by Pretrial Services and, therefore, his ties

26 and contacts to this community or to the Western District of Washington are unknown.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:07-cr-00048-JLR        Document 18        Filed 03/02/07      Page 2 of 2




01          (3)    Due to the immigration detainer to be lodged against him, defendant has

02 stipulated to detention, but reserves the right to contest his continued detention if there is a

03 change in circumstances.

04          (4)    Defendant is a flight risk and a danger to the community based on the nature of

05 the pending charges.

06          (5)    There appear to be no conditions or combination of conditions other than

07 detention that will reasonably assure the defendant’s appearance at future Court hearings.

08          IT IS THEREFORE ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a corrections facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which defendant

17                 is confined shall deliver the defendant to a United States Marshal for the purpose

18                 of an appearance in connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

20                 counsel for the defendant, to the United States Marshal, and to the United States

21                 Pretrial Services Officer.

22                 DATED this 1st day of March, 2007.

23

24
                                                         A
                                                         JAMES P. DONOHUE
                                                         United States Magistrate Judge
25

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
